Case 2: 04- -C\/- -02865- BBD- d|<v Document 12 Filed 07/15/05 Page 1 of 4 Page|D 24
IN THE UNITED STATES DISTRICT COURT
FoR THE wEsTsRN DIs'rRIcT oF TENNEssEE HLE° BY D-¢‘
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ERIC O. MOORE,
Plaintiff,
vs.

NO. 04-2865~DV

DRUG ENFORCEMENT AGENCY,

v`¢`b¢`-fv`i`fvv

Defendant.

 

SCHEDULING ORDER

 

Pursusnt to written notice, a scheduling conference was held
on June 30, 2005. Only Handel R. Durham, Jr., counsel for the
plaintiff, was present. At the conference, the following dates
were established as the final dates fora

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(&)(1):
July 14, 2005

JOINING PARTIES: August 15, 2005

AMENDING PLEADINGS= August 15, 2005

INITIAL MOTIONS TO DISMISS: Angust 31, 2005
COMPLETING ALL DISCOVERY: October 31, 2005

FILING DISPOSITIVE NOTIONSS November 30, 2005

OTHER RELEVANT MATTERS:
No depositions may be scheduled to occur after the disco

cutoff date. All motions, requests for admissions, or o er

filings that require so$p€e must be filed sufficient y}i;:)//

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with Hula 58 andlor ?B(a) FRCP on

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advance of the discovery cutoff date to enable opposing counsel to

respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,

answer, or objection shall be waived.

This case is set for non-jury trial, and the trial is expected
to last 2 days. The pretrial order date. pretrial conference date,

and trial date will be set by the presiding judge.

This case is not appropriate for ADR.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.

P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,

without leave of the court. If a party believes that a reply is

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necessary, it shall file a :motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a

reply is required.

The parties have not consented to trial before the magistrate

judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02865 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

